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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                             Chapter 11

    Lordstown Motors Corp., et al.,1                                  Case No. 23-10831 (MFW)

                                                                      (Jointly Administered)
                                                Debtors.

                                                                      Objection Deadline: Feb. 1, 2024, at 4:00 p.m. (ET)



              SUMMARY COVER SHEET OF FIFTH MONTHLY APPLICATION OF
               WHITE & CASE LLP FOR ALLOWANCE OF COMPENSATION AND
                 REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                NOVEMBER 1, 2023 TO AND INCLUDING NOVEMBER 30, 2023

    Name of Applicant:                                                     White & Case LLP

    Authorized to Provide Professional Services to:                        Debtors and Debtors-in-Possession

    Date of Retention:                                                     Effective June 27, 2023

    Period for Which Compensation and                                      November 1, 2023 –
    Reimbursement Are Requested:                                           November 30, 2023
    Total Amount of Compensation (100%):                                   $989,463.00

    Amount of Compensation Requested (80%):                                $791,570.40

    Amount of Compensation Held Back (20%):                                $197,892.60

    Amount of Expense Reimbursement Requested:                             $0.00

    Aggregate Amount to be Paid Under                                      $791,570.40
    Compensation Procedures Order:

This is a monthly fee application.



1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
       Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
       Ct., Farmington Hills, MI 48331.

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                                         MONTHLY FEE APPLICATIONS FILED

        (1)          (2)      (3)           (4)         (5)         (6)           (7)        (8)            (9)         (10)
                                                          Approved                  Holdback                Total Approved
                                Requested
                                                       On Monthly Basis          On Monthly Basis          By Interim Order
    Date;      Period
                             Fees        Expenses       Fees        Expenses      Fees       Expenses       Fees        Expenses
     D.I.     Covered
  9/13/2023 6/27/2023 –
                         $2,296,617.00   $4,880.64 $1,837,293.60 $4,880.64 $459,323.40        $0.00     $2,296,617.00 $4,880.64
   D.I. 422   7/31/2023
  10/20/2023 8/1/2023 –
                         $1,923,539.00   $4,149.65 $1,538,831.20 $4,149.65 $384,707.80        $0.00     $1,923,539.00 $4,149.65
   D.I. 594   8/31/2023
  11/10/2023 9/1/2023 –
                         $1,313,604.00    $36.58    $1,050,883.20    $36.58    $262,720.80    $0.00     $1,313,604.00    $36.58
   D.I. 684   9/30/2023
  11/30/2023 10/1/2023 –
                         $1,654,153.00   $3,903.33 $1,323,322.40 $3,903.33 $330,830.60        $0.00         TBD          TBD
   D.I. 762  10/31/2023




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                                             SUMMARY OF TOTAL FEES AND HOURS
                                            BY ATTORNEYS AND PARAPROFESSIONALS

           Name                 Title       Year       Areas of Expertise                                    Hours   Rate        Fees
                                            Admitted
           Green, Jesse         Counsel         2007   Commercial Litigation Practice                         21.2   $1,310.00    $27,772.00
           He, Fan              Counsel         2007   Financial Restructuring & Insolvency (FRI) Practice    69.7   $1,310.00    $91,307.00
           Kampfner, Roberto    Partner         1995   Financial Restructuring & Insolvency (FRI) Practice    47.8   $1,590.00    $76,002.00
           Kaul, Sequoia        Associate       2018   Commercial Litigation Practice                         66.4   $1,060.00    $70,384.00
           Kim, Doah            Associate       2012   Financial Restructuring & Insolvency (FRI) Practice    75.9   $1,270.00    $96,393.00
           Ludovici, Stephen    Associate       2014   Financial Restructuring & Insolvency (FRI) Practice    12.8   $1,240.00    $15,872.00
           Mezei, Livy          Associate       2017   Financial Restructuring & Insolvency (FRI) Practice    35.8   $1,020.00    $36,516.00
           Padmanabhan, Aditi   Associate       2023   Commercial Litigation Practice                         36.3    $740.00     $26,862.00
           Pryor, Gregory       Partner         1989   M&A - Corporate Practice                                9.2   $1,950.00    $17,940.00
           Szuba, RJ            Associate       2017   Financial Restructuring & Insolvency (FRI) Practice   110.9   $1,140.00   $126,426.00
           Turetsky, David      Partner         2003   Financial Restructuring & Insolvency (FRI) Practice   136.2   $1,750.00   $238,350.00
           Yoo, Jade            Associate       2020   Commercial Litigation Practice                         33.2   $1,020.00    $33,864.00
           Zakia, Jason         Partner         1999   Commercial Litigation Practice                         75.3   $1,750.00   $131,775.00
           Grand Total                                                                                       730.7               $989,463.00




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               STATEMENT OF FEES AND HOURS BY PROJECT CATEGORY

               Cat. No.           Project Category Description           Total Hours     Total Fees
               B01        Asset Analysis, Sale & Disposition                     10.5    $14,804.00
               B02        Automatic Stay Issues                                   0.0          $0.00
               B03        Avoidance Actions & Other Asset Recovery                0.0          $0.00
               B04        Business Operations, Vendor & Utility Issues           38.9    $56,314.00
               B05        Case Administration                                    11.4    $13,590.00
               B06        Case Strategy                                          23.3    $33,551.00
               B07        Claims Administration & Objections                    229.1   $265,355.00
               B08        Corporate Advice & Board Meetings                      33.3    $50,901.00
               B09        Creditor Meetings & Statutory Committees                0.0          $0.00
               B10        Disbursement                                            0.0          $0.00
               B11        Discovery                                               0.0          $0.00
               B12        Exclusivity, Plan & Disclosure Statement              155.8   $211,401.00
               B13        Executory Contracts & Unexpired Leases                  8.0    $10,385.00
               B14        First Day Pleadings                                     0.0          $0.00
               B15        Hearings & Court Matters                                1.6     $2,022.00
               B16        Insurance Issues                                       12.0    $19,709.00
               B17        Litigation                                             87.2   $137,425.00
               B18        Nonworking Travel                                       0.0          $0.00
               B19        Professional Retention & Fees – W&C                    13.5    $18,012.00
               B20        Professional Retention & Fees – Other                   4.6     $5,755.00
               B21        Reports, Schedules & U.S. Trustee Issues               34.3    $49,268.00
               B22        Tax Issues                                              0.0          $0.00
               B23        Employee Issues                                        67.2   $100,971.00
                                     Grand Total                                730.7   $989,463.00




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                                 EXPENSE SUMMARY


                                          N/A




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                          Chapter 11

    Lordstown Motors Corp., et al.,1                               Case No. 23-10831 (MFW)

                                                                   (Jointly Administered)
                                                Debtors.

                                                                   Objection Deadline: Feb. 1, 2024, at 4:00 p.m. (ET)



           FIFTH MONTHLY APPLICATION OF WHITE & CASE LLP FOR
      ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
    FOR THE PERIOD NOVEMBER 1, 2023 TO AND INCLUDING NOVEMBER 30, 2023

             White & Case LLP (“White & Case”), counsel for the debtors and the debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases, hereby files this

fifth monthly application (this “Application”) for the period from November 1, 2023 to and

including November 30, 2023 (the “Compensation Period”) requesting (a) interim allowance and

payment of compensation for professional services to the Debtors in the amount of $791,570.40,

representing 80% of the $989,463.00 of fees earned by White & Case for professional services to

the Debtors during the Compensation Period, and (b) reimbursement of 100% of the actual and

necessary expenses incurred by White & Case during the Compensation Period in connection with

such services in the amount of $0.00. In support of this Application, White & Case respectfully

represents as follows:




1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
       Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
       Ct., Farmington Hills, MI 48331.


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                      JURISDICTION, VENUE AND PREDICATES FOR RELIEF

                      This Court has jurisdiction to consider this Application under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference, dated February 29, 2012 (Sleet, C.J.). This

is a core proceeding under 28 U.S.C. § 157(b). Venue of the Chapter 11 Cases and this Application

is proper in this District under 28 U.S.C. §§ 1408 and 1409.

                      The predicates for the relief requested by this Application are sections 330 and 331

of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rule 2016

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-2 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”), and the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Chapter 11 Professionals and Committee

Members [Docket No. 181] (the “Compensation Procedures Order”).

                                               BACKGROUND

                      On June 27, 2023 (the “Petition Date”), the Debtors each commenced with this

Court a voluntary case under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Chapter 11 Cases are being jointly administered for procedural purposes only

pursuant to Bankruptcy Rule 1015(b). The Debtors continue to operate their businesses and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. On July 11, 2023, the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”) appointed the official committee of unsecured creditors (the

“Creditors’ Committee”) for these Chapter 11 Cases. On September 7, 2023, the U.S. Trustee

appointed the official committee of equity security holders (the “Equity Committee” and




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collectively with the Creditors’ Committee, the “Committees”) for these Chapter 11 Cases. No

trustee or examiner has been appointed in these Chapter 11 Cases.

                      The Court has authorized the Debtors to retain and employ White & Case as their

lead bankruptcy counsel, effective as of the Petition Date, pursuant to the Order Authorizing the

Employment and Retention of White & Case LLP as Attorneys to the Debtors Effective as of the

Petition Date [Docket No. 175] (the “Retention Order”). The Retention Order authorizes the

Debtors to compensate and reimburse White & Case in accordance with the terms and conditions

set forth in the Debtors’ application to retain White & Case, subject to White & Case’s application

to the Court.

                      On July 25, 2023, the Court entered the Compensation Procedures Order, which

provides, among other things, that each chapter 11 professional seeking interim compensation in

the Chapter 11 Cases may file an application (a “Monthly Fee Application”) for interim approval

and allowance of compensation for services rendered and reimbursement of expenses incurred

during the immediately preceding month and serve a copy of such Monthly Fee Application on

the Notice Parties (as defined in the Compensation Procedures Order). Then, each Notice Party

will have until 4:00 p.m. (prevailing Eastern Time) on the twentieth (20th) day after service of a

Monthly Fee Application to object thereto (the “Objection Deadline”). Upon expiration of the

Objection Deadline, the professional may file a certificate of no objection consistent with Local

Rule 9013-1(j) with the Court after which the Debtors are authorized to pay each professional an

amount equal to the lesser of: (i) 80 percent (80%) of the fees and 100 percent (100%) of the

expenses requested in the Monthly Fee Application; and (ii) 80 percent (80%) of the fees and 100

percent (100%) of the expenses not subject to an objection.




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                                          RELIEF REQUESTED

                      By this Application, in accordance with the Compensation Procedures Order, White

& Case requests payment in the aggregate amount of $791,570.40, which is equal to (a) 80% of

the $989,463.00 of fees earned by White & Case for professional services to the Debtors during

the Compensation Period; and (b) 100% of the $0.00 of actual and necessary expenses incurred by

White & Case during the Compensation Period in connection with its services to the Debtors.

                                SUMMARY OF SERVICES RENDERED

                      Prior to filing this Application, White & Case reviewed its fees worked (which

totaled 897.1 hours and $1,186,663.00) and expenses incurred (which totaled $136.03). Following

that review, White & Case voluntarily elected to reduce its fees by 166.4 hours (~18.5%) and

$197,200.00 (~16.6%) and its expenses by $136.03 (100.0%) prior to filing this

Application. White & Case will not hereafter seek payment for the fees and expenses that it has

voluntarily reduced.

                      Attached hereto as Exhibit A is a detailed statement of White & Case’s hours

expended and fees earned during the Compensation Period. A summary of White & Case’s hours

expended and fees earned during the Compensation Period grouped by category (discussed below)

is in the summary cover sheets prefixed to this Application. The attorneys and paraprofessionals

who provided services to the Debtors during the Compensation Period are also identified in

Exhibit A and in the summary cover sheets. The services rendered by White & Case during the

Compensation Period are grouped into the categories set forth in Exhibit A and in the summary

cover sheets prefixed to this Application. The following is a brief narrative summary of the

services performed by White & Case professionals and paraprofessionals on behalf of the Debtors

during the Compensation Period, organized by category:



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No.     Category Name
        Brief Narrative Summary
B01 Asset Analysis, Sale & Disposition
        During the Compensation Period, White & Case advised the Debtors on numerous issues
        related to the Debtors’ sale of their assets, including post-closing matters relating to the
        Debtors’ sale of assets to LAS Capital LLC/LandX and certain elements relating to the
        sale of miscellaneous assets not purchased by LAS Capital LLC/LandX.
B02 Automatic Stay Issues
        During the Compensation Period, White & Case billed no time to this project category.
B03 Avoidance Actions & Other Asset Recovery
        During the Compensation Period, White & Case billed no time to this project category.
B04 Business Operations, Vendor & Utility Issues
        During the Compensation Period, White & Case advised the Debtors with respect to
        various matters related to the Debtors’ remaining operations, including with respect to the
        potential repurchase of the Debtors’ previously-sold vehicles and related vehicle warranty
        and recall issues. White & Case advised the Debtors in seeking and obtaining court
        authorization to repurchase vehicles from prior customers (including drafting the motion
        and proposed order), and conferring and negotiating elements of the relief sought with
        counsel to the Committees and Foxconn regarding the same.
B05 Case Administration
        During the Compensation Period, White & Case professionals and paraprofessionals
        worked on various matters related to the management of these Chapter 11 Cases, including
        responding to creditor and equity holder inquiries, preparing and updating a case calendar,
        maintaining an FTP site for documents and diligence, and tracking and monitoring work
        in progress.
B06 Case Strategy
        During the Compensation Period, White & Case professionals advised the Debtors with
        respect to legal matters concerning strategy with respect to the Chapter 11 Cases. Among
        other things, White & Case team members participated in twice-weekly calls team calls
        with the Debtors and their other professionals and in daily internal meetings to address
        open issues and case strategy. These initiatives have allowed the Debtors and their
        professionals to remain coordinated and to advance the Debtors’ strategy and objectives in
        the Chapter 11 Cases.




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B07 Claims Administration & Objections
        During the Compensation Period, White & Case attorneys advised the Debtors with respect
        to various matters concerning claims and the claims administration process, including
        reconciliation of filed claims with scheduled claims, review and analysis of class proof of
        claim issues, and the filing of claims objections. White & Case also prepared an objection
        to the motion of lead plaintiff in the securities class action captioned In re Lordstown
        Motors Corp. Securities Litigation, Case No. 4:21-cv00616 (DAR) to apply Bankruptcy
        Rule 7023 to its filed class proof of claim. Moreover, White & Case advised the Debtors
        in connection with certain potential claims and the attempted resolution of same. Lastly,
        White & Case, working with Silverman Consulting, advised the Debtors regarding claims
        reserve and related claims matters, and conferred with professionals for the Committees
        regarding same.
B08 Corporate Advice & Board Meetings
        During the Compensation Period, White & Case professionals advised the Debtors with
        respect to certain corporate and board matters, including advising the Debtors at Board
        meetings and preparing materials in connection with such meetings. These efforts have,
        among other things, assisted the Debtors’ board of directors in remaining properly
        informed of the events of these Chapter 11 Cases, advised in connection with foregoing,
        and thereby in discharging their fiduciary duties.
B09 Creditor Meetings & Statutory Committees
        During the Compensation Period, White & Case billed no time to this project category.
B10 Disbursement
        During the Compensation Period, White & Case billed no time to this project category.
B11 Discovery
        During the Compensation Period, White & Case billed no time to this project category.
B12 Exclusivity, Plan & Disclosure Statement
        During the Compensation Period, White & Case continued to advise the Debtors in
        connection with issues concerning the Debtors’ chapter 11 plan and disclosure statement,
        including plan solicitation matters and plan confirmation strategy. White & Case advised
        the Debtors in connection with responding to and attempting to resolve informal plan
        comments and objections. White & Case also began drafting a memorandum brief in
        support of plan confirmation and the proposed order confirming the chapter 11 plan. White
        & Case also worked with the Debtors’ solicitation agent, KCC, in the preparation of
        chapter 11 plan voting reports. Lastly, White & Case prepared and revised documents to
        be including in the Plan Supplement, including the Schedule of Retained Causes of Action,
        and worked with counsel to the Committees in preparation of other Plan Supplement
        Documents including the organizational documents for the Post-Effective Date Debtors
        and Litigation Trust Agreement.


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B13 Executory Contracts & Unexpired Leases
        During the Compensation Period, White & Case advised the Debtors on issues related to
        the Debtors’ executory contracts and unexpired leases. White & Case worked with the
        Debtors’ financial advisor to determine the extent of estimated damage claims related to
        the rejection of unexpired leases and executory contracts and drafted a motion to reject
        certain of the Debtors’ contracts.
B14 First Day Pleadings
        During the Compensation Period, White & Case billed no time to this project category.
B15 Hearings & Court Matters
        During the Compensation Period, White & Case advised the Debtors in connection with
        certain elements of the November 21 hearing.
B16 Insurance Issues
        During the Compensation Period, White & Case reviewed and advised the Debtors in
        connection with insurance policies and related matters involving the Debtors’ insurance.
        White & Case also advised the Debtors in connection with attempted resolutions of issues
        with their insurance carriers.
B17 Litigation
        During the Compensation Period, White & Case advised the Debtors regarding various
        pending litigation matters, including claims against Foxconn (including responding to
        Foxconn’s motion to dismiss the litigation) and chapter 11 matters relating to the securities
        class actions against the Debtors (as well as efforts to resolve such class actions).
B18 Nonworking Travel
        During the Compensation Period, White & Case billed no time to this project category.
B19 Professional Retention & Fees – W&C
        During the Compensation Period, White & Case prepared its fourth monthly and first
        interim fee applications.
B20 Professional Retention & Fees – Other
        During the Compensation Period, White & Case advised the Debtors in connection with
        applications for employment of Womble Bond Dickinson LLP as Debtors’ counsel. White
        & Case also advised the Debtors with respect to professionals utilized in the ordinary
        course of the Debtors’ business.




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B21 Reports, Schedules & U.S. Trustee Issues
         During the Compensation Period, White & Case advised the Debtors, and worked with the
         Debtors, Silverman Consulting and the Debtors’ other professionals to prepare and file (as
         applicable) monthly operating report for August. In addition, White & Case prepared,
         reviewed, commented, and coordinated with Baker Hostetler regarding the necessary
         corporate filings with the U.S. Securities and Exchange Commission. These efforts
         assisted the Debtors in responding to the U.S. Trustee’s information inquiries and in
         complying with the reporting and other requirements associated with operating in chapter
         11 and the Debtors’ public reporting requirements.
B22 Tax Issues
         During the Compensation Period, White & Case billed no time to this project category.
B23 Employee Issues
         White & Case advised the Debtors on various employee-related issues, including
         severance, wage issues, and other matters. These efforts included representing the Debtors
         in connection with discussions with the Committees to resolve certain potential disputes
         concerning contractual severance matters. White & Case also advised the Debtors in
         preparing and obtaining approval of a motion to approving a settlement with certain
         employees in connection with obligations due to such employees, as well as the negotiation
         of such relief with the Committees.

                      White & Case attorneys and paraprofessionals billed a total of 730.7 hours for

which White & Case seeks compensation in connection with these Chapter 11 Cases during the

Compensation Period. All services rendered by White & Case for which compensation is sought

pursuant to this Application were rendered solely to or on behalf of the Debtors. No payments

were received by White & Case from any other source for services rendered or to be rendered in

connection with these Chapter 11 Cases.

                                ACTUAL AND NECESSARY EXPENSES

                      White & Case is billing no expenses in this fee application.

                                       VALUATION OF SERVICES

                      As noted above, the amount of time spent by each White & Case attorney and

paraprofessional providing services to the Debtors during the Compensation Period is set forth in



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the summary cover sheets hereto. The rates reflected thereon are White & Case’s customary hourly

rates for work of this character. The reasonable value of the services rendered by White & Case

for which White & Case seeks compensation for the Compensation Period as attorneys to the

Debtors in these Chapter 11 Cases is $989,463.00. The blended rate for compensation requested

in this Application is approximately $1,354.2

                         In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

the fees requested are fair and reasonable given (a) the complexity of these Chapter 11 Cases,

(b) the time expended, (c) the nature and extent of the services rendered, (d) the value of such

services, and (e) the costs of comparable services other than in a case under this title.

                         Although White & Case has made every effort to include all fees earned and

expenses incurred during the Compensation Period, some fees and expenses might not be included

in this Application due to delays caused by accounting and processing during the Compensation

Period. White & Case reserves the right to make further applications to this Court for allowance

of such fees and expenses not included herein. Subsequent fee applications will be filed in

accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the

Compensation Procedures Order.

                                       CERTIFICATION OF COMPLIANCE

                         The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that, to the best of his knowledge, information, and belief, this Application complies with the

requirements of that Local Rule.




2      The blended rate is calculated by taking the total of fees included in this Monthly Fee Application and dividing by the total of
       hours included in this Monthly Fee Application, rounded to the nearest dollar.


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          WHEREFORE, White & Case requests allowance and payment of the aggregate amount

of $791,570.40, which is equal to (a) 80% of the $989,463.00 of fees earned by White & Case for

professional services to the Debtors during the Compensation Period; and (b) 100% of the $0.00

of actual and necessary expenses incurred by White & Case during the Compensation Period in

connection with its services to the Debtors.

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Dated: January 12, 2024                       Respectfully submitted,

                                              /s/David M. Turetsky
                                              WHITE & CASE LLP
                                              Thomas E Lauria (admitted pro hac vice)
                                              Matthew C. Brown (admitted pro hac vice)
                                              Fan B. He (admitted pro hac vice)
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                                              Co-Counsel to Debtors and
                                              Debtors-in-Possession




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